                 IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE


UNITED STATES OF AMERICA                             )
                                                     )
       vs.                                           )       Case No.: 3:17-CR-1
                                                     )
BRIAN REESE ZIMMERMAN                                )


             MOTION FOR LEAVE FILE MOTION TO CONTINUE TRIAL
                          AND OTHER DEADLINES

       Pursuant to Federal Rules of Criminal Procedure 12(c)(3) and 45(b), the Defendant, with

agreement from the Government, respectfully moves this Court for entry of an Order permitting

Defendant to file a Motion to Continue Trial in this case. Justice so requires that leave be granted

inasmuch as the additional time may allow the Government and the Defendant to resolve this

case without proceeding to trial.

       The Motion to Continue is contemporaneously attached.

       Respectfully submitted, this 27th day of February, 2017.


                                                     /s/ Marcos M. Garza
                                                     Marcos M. Garza, BPR No. 021483
                                                     David L. Beck, BPR No. 006992
                                                     Keith E. Lowe, BPR No. 026446
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                                    CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was served via ECF upon the U.S. Attorney’s Office
for the Eastern District of Tennessee on this 27th day of February, 2017.

                                                     /s/ Marcos M. Garza




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